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June 19, 2014

US. District Judge Joseph F. Bianco
Long Island Federal Courthouse

814 Federal Plaza

Central Islip, New York 11722

RE: Zarda v. Altitude Express, Inc. & Ray Maynard. 10 Civ 4334 (JFB)
Dear Judge Bianco:

I respond to Mr. Zabell’s letter and thank you for letting me file a JPTO with a
truthful statement on it. I also write how we will deal with in the future with Mr. Zabell’s
homophobia toward me, and his homophobic actions, and how they should be punished.
The Circuit, many years ago, censured an attorney for telling a black adversary at a
deposition to pronounce the work “ask” as “a-s-k” rather than “a-k-s.” They censured him
for racial insensitivity. Ill look it up if you'd like. I have never before accused Zabell of
homophobia — just his rudeness and lack of civility in general — but now he’s just done it
again by accusing me of a “high pitched rant.” Gay people’s higher, more feminine
voices, are second only to the gesture of a limp wrist in derisive, bigoted remarks and
gestures that are intended to make fun of us — and in this case me. I was not on a “high
pitched rant.” When I was speaking to Mr. Zabell, it was him who was begging me to
remove language about an objection. I merely refused his request to take out a line from
my portion of the JPTO. He then mincingly and condescendingly asked me to “please say
yes in [my| high-pitched voice.” I hung up on him and he then filed the unilateral order
with names of witnesses whose whereabouts are unknown. My letter followed.

Judge I have always felt fairly treated by you on the law, but when it comes to
Mr. Zabell’s behavior, you sometimes make it seem like it is a mutual problem. But Mr.
Zabel] is the bully here, speaks to me condescendingly, has referred to me at a deposition
as “eight pounds of shit in a six-pound bag” (when he didn’t know he was being heard),
and appears in a treatise on sanctions against attorneys. He has intimidated immigrants at
depositions in reporting them to the authorities, and made fun of women — one wrote me.
Now he has done something that is unmistakeably discriminatory and I call him on it.
How does he respond? By making fun of my voice again.

I hope your just entered order sends a message for Mr,. Zabell to stop to his
highly impolite behavior. May I refer you to my adversaries and other judges to prove
that I don’t behave like him, but am merely trying to defend myself against his arrogant,
condescending attitude? J may never appear before you again, unfortunately, and I
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understand you and Mr. Zabell are together professionally for life, as it were. But even if
I am so unlucky to have this be the only case I appear before you on, I will not tolerate
Mr. Zabell’s now pronounced bigoted and impolite behavior, and | will call him on his
incivility towards me — which is disrespect not only to me but to the court. I have never in
my career of twenty years - except for once when an eighty year old, near senile attorney
called me a “faggot” in front of a judge - been mocked in any way that calls attention to
my sexual orientation. I have been thinking about this for 48 hours, have lost sleep and
am wondering if you are going to let this slide, or if you are going to put a stop to
Zabell’s boorish, discriminatory behavior once and for all in this case — and perhaps
forever. Your peremptory order in response to his letter sends a message, but he doesn’t
learn despite numerous sanctions. | won’t tolerate being made fun of in the future.

Sincerely,

  
 
 

C4

“Gregory Antollino

Ce: Saul Zabell

No
